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               IN THE UNITED STATES DISTRICT COURT, FOR THE NORTHERN
                        DISTRICT OF ILLINOIS, EASTERN DIVISION


TAYOR DUNCAN,                                  )
Plaintiff,                                     )
                                               )       CASE NO. 21 CV __
v.                                             )       Judge __________
                                               )
CWPILL,                                        )       Jury Trial Demanded
Defendant.                                     )

                                           COMPLAINT
          Claimant, Taylor Duncan (“Mr. Duncan”), by and through his undersigned counsel, states
as follows as his Statement of Claim against Respondent, CWPILL.
     I.       Background
     The Parties
     1. Mr. Duncan is an Illinois resident.

     2. CWPILL is a Nevada corporation. CPWILL is a citizen and resident of the State of
Nevada, with its corporate headquarters and principal place of business located in the State of
California.


     The Parties’ Employment Agreement
     3. On or about May 15, 2008, Mr. Duncan and CWPILL entered into an Employment
Agreement (“Agreement”). A true and correct copy of the Agreement is attached hereto.
     4. The Agreement contains an Arbitration provision, purporting to provide AAA Arbitration
tribunal with exclusive jurisdiction for resolving claims between the parties under the
Agreement. See Agreement, at p. 4, paragraph 8.1. However, that provision is invalid, void, and
unenforceable because it does not indicate that the parties, much less Mr. Duncan, have agreed to
waive their rights to try matters before a jury. Id.
     5. The Agreement was amended by the parties, in writing, on or about October 15, 2010.
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See Amendment No. 1, a true and correct copy of which is attached hereto.
   6. The Agreement was amended by the parties, in writing, on or about June 5, 2011. See
Amendment No. 2, a true and correct copy of which is attached hereto.
   7. The Agreement, including as amended, obligated CWPILL to pay certain monies to Mr.
Duncan in exchange for him providing certain services provided to it. Id.
   8. For example, CWPILL was contractually obligated to pay Mr. Duncan a modest salary
as “Base Compensation.” See Paragraph 1.3.1. CWPILL made those salary payments to Mr.
Duncan.
   9. In addition, CWPILL was also contractually obligated to pay Mr. Duncan, on an annual
basis and after the close of its fiscal year, a share of the profits of CWPILL – pursuant to a
formula. Id. at paragraph 1.1. In short, CWPILL was obligated to pay Mr. Duncan 15% of
CWPILL’s adjusted profits. Id.
   10. During the time period from the inception of the Agreement through the end of fiscal
year ending in or about October 2019, CWPILL made annual, year-end payments to Mr.
Duncan pursuant to paragraph 1.1 of the Amended Agreement.
   11. However, in each and every one of those years, CWPILL breached the Agreement in
making each and every one of those payments.
   12. In short, instead of paying Mr. Duncan in accordance with the Agreement’s formula,
CWPILL instead knowingly and intentionally paid Mr. Duncan significantly lesser sums than he
was owed by improperly and fraudulently reducing CWPILL’s profits by assigning to it debts
and expenses that were not those of CWPILL.
   13. By way of example and not all inclusive, CWPILL took on the costs and debts of its
parent company, National Services Group or “NSG,” including office costs; salary and expenses
for NSG’s CFO, COO, and other Executive Overhead (referred to by NSG itself as “EOH”);
costs to settle lawsuits wholly unrelated to CWPILL; NSG’s “chargeouts;” self-insurance/captive
insurance charges; other business-related expenses solely attributable to NSG; and other NSG
businesses and “research and development,” including CW Home Inspectors (“Carpentry
Model”), Empire Commercial Coatings, “ISM,” and Sale/Sub-Model.
   14. Thus, CWPILL improperly, knowingly, and intentionally, calculated the adjusted profits
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due and owing to Mr. Duncan under the terms of the Agreement, as amended, such that they

were lower than they should have been by hundreds of thousands of dollars based upon the

various “fees” that CWPILL took on for NSG.

   15. Accordingly, CWPILL intentionally substantially underpaid Mr. Duncan of the amended
Agreement in each and every one of those years, i.e., in 2011, 2012, 2013, 2014, 2015, 2016,
2017, 2018, and 2019 – under section 1.1 of Amendment No. 2 to the Agreement.
   16. The precise amounts still outstanding and due and owing to Mr. Duncan has yet to be
determined, particularly in light of the fact that Respondent has control over the documents and
data necessary to fully and legitimately calculate those amounts.
   17. However, upon information and belief, those sums are, conservatively, in excess of the
total amount of $150,000 (one hundred and fifty thousand dollars).
   18. In addition, CWPILL has failed and refused to pay the monies due and owing to Mr.
Duncan for the most recent fiscal year under the Agreement, i.e., that ending October 31, 2020.
   19. The precise amounts still outstanding and due and owing to Mr. Duncan or that additional
durational term has yet to be determined, particularly in light of the fact that Respondent has
control over the documents and data necessary to fully and legitimately calculate those amounts.
   20. However, that sum is believed to be approximately $50,000 (fifty thousand dollars).

   21. CWPILL was also contractually obligated under the Agreement, as amended, to pay to
Mr. Duncan a “Growth Bonus,” pursuant to a formula. See Amendment No. 2 to Agreement, at
Exhibit A, at section 1.3.2.
   22. However, much like CWPILL’s machinations with regard to Mr. Duncan’s adjusted
profits, CWPILL similarly and intentionally denied Mr. Duncan the full extent of the sums that
he was entitled to receive as his yearly Growth Bonus (under section 1.3.2 of Exhibit A to the
Amended Agreement) by falsely carrying out and calculating the formula for the payment of that
bonus in each of the years between 2011 and 2019.
   23. Mr. Duncan has made demand upon CWPILL, including in writing through counsel, for
all of the above-referenced sums.
   24. CWPILL has failed and refused to make payment to Mr. Duncan in accordance with its
obligations pursuant to the terms of the Agreement.
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       Legal Claim
                              Breach of Contract
   25. Mr. Duncan re-alleges and incorporates by reference the allegations set forth in
Paragraphs 1 through 24 above, as though fully set forth herein, as Paragraph 25.
   26. The parties’ Agreement constitutes a valid, binding, and enforceable contract that

was supported by good, valuable, and adequate consideration.

   27. Mr. Duncan has satisfied all of his material obligations under the Agreement, including all

conditions precedent.

   28. CWPILL has materially breached the Agreement by, inter alia, intentionally failing and

refusing to pay Mr. Duncan the sums referenced above.

   29. As a direct and proximate result of CWPILL’s breaches of the Agreement, Mr. Duncan

has suffered substantial monetary damages.

       WHEREFORE, Claimant, Mr. Duncan, by and through his undersigned counsel,

respectfully requests that the Court enter an Order: awarding and entering judgment in his favor

and against the Defendant, in an amount far in excess of the $75,000 jurisdictional minimum,

exclusive on interests and costs, and to be more fully proven by way of discovery and trial, for

pre-judgment and post-judgment interest; for his reasonable attorneys’ fees and costs; and for

any all other such other and further relief as is appropriate under the circumstances.



                              RESPECTFULLY SUBMITTED,


                                 By: s/Michael I. Leonard____

                                      Attorney for Plaintiff
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                              JURY TRIAL DEMANDED




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